



















NO. 07-11-00210-CR

&nbsp;

IN THE COURT OF APPEALS

&nbsp;

FOR THE
SEVENTH DISTRICT OF TEXAS

&nbsp;

AT
AMARILLO

&nbsp;

PANEL B

&nbsp;



JUNE
28, 2011

&nbsp;



&nbsp;

ANAIS ESPINOSA, APPELLANT

&nbsp;

v.

&nbsp;

THE STATE OF TEXAS, APPELLEE 



&nbsp;



&nbsp;

&nbsp;FROM THE 64TH DISTRICT COURT OF
HALE COUNTY;

&nbsp;

NO. A14705-0211; HONORABLE ROBERT W. KINKAID JR., JUDGE



&nbsp;



&nbsp;

Before QUINN,
C.J., and CAMPBELL and HANCOCK, JJ.

&nbsp;

&nbsp;

MEMORANDUM OPINION

&nbsp;

Appellant Anais
Espinosa attempts to appeal her conviction for “forgery financial instrument”[1]
and sentence of eighteen months’ confinement in a state jail.&nbsp; On the State’s motion, the trial court
revoked appellant’s deferred adjudication community supervision and adjudicated
her guilty of the charged offense.&nbsp;
Sentence was imposed on March 1, 2011.&nbsp;
On May 16, 2011, appellant filed a pro
se notice of appeal.&nbsp; We do not have
a clerk’s record, but according to the information form filed in this court by
the clerk of the trial court appellant did not file a motion for new trial. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; By
letter, we notified appellant her notice of appeal appeared untimely thus depriving
us of appellate jurisdiction.&nbsp; We
afforded her an opportunity to file documents or matters she considered
necessary for determination of our jurisdiction.&nbsp; On June 6, we were notified by the clerk of
the trial court that appellate counsel for appellant was appointed on June
2.&nbsp; We accordingly extended the deadline
for appellant’s response until June 23.&nbsp;
Appellate counsel has filed a response, indicating his investigation has
not located information that would show appellant filed a timely notice of
appeal.&nbsp; 

Our appellate jurisdiction is
triggered through a timely notice of appeal.&nbsp;
Slaton v. State,
981 S.W.2d 208, 210 (Tex.Crim.App. 1998); Olivo v. State, 918 S.W.2d 519, 522 (Tex.Crim.App. 1996).&nbsp;
Rule of Appellate Procedure 26.2(a) requires a notice of appeal be filed
within 30 days after the day sentence is imposed in open court or within 90
days after imposition of the sentence if a timely motion for new trial is
filed.&nbsp; Tex. R. App. P. 26.2(a)(1),(2).&nbsp; A motion
for new trial is timely if filed “before, but no later than 30 days after, the
date when the trial court imposes or suspends sentence in open court.”&nbsp; Tex. R. App. P. 21.4(a).

Because appellant did not file a
motion for new trial, her notice of appeal was due within thirty days after the
date sentence was imposed in open court.&nbsp;
However, appellant’s notice of appeal was filed seventy-six days after
imposition of sentence and was therefore untimely.&nbsp; Our appellate jurisdiction has not been
invoked.

&nbsp;

&nbsp;

Consequently, we dismiss the appeal
for want of jurisdiction. 

&nbsp;

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; James
T. Campbell

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice

&nbsp;

&nbsp;

Do not
publish.

&nbsp;











[1] &nbsp;See Tex. Penal Code Ann. § 32.21(b)
(West 2011). 







